        Case 17-10979-GLT                      Doc       Filed 11/22/22 Entered 11/22/22 12:51:20                              Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 2
 Debtor 1              Joseph W. Warner
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Eastern District      of __________
                                                          of Michigan
                                                      District

 Case number            22-30985
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   KeyBank N.A.
 Name of creditor: _______________________________________                                                        2
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           8 ____
                                                         ____ 7 ____
                                                                 1 ____
                                                                     4               Must be at least 21 days after date        12/15/2022
                                                                                                                                _____________
                                                                                     of this notice


                                                                                     New total payment:                                 528.15
                                                                                                                                $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
          No
          Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                       New escrow payment:         $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                                          Prime Rate Change
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:                   7.45
                                                  _______________%                 New interest rate:                    8.20
                                                                                                               _______________%

                                                                    499.30
                   Current principal and interest payment: $ _______________                                                    528.15
                                                                                  New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


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          Case 17-10979-GLT                          Doc          Filed 11/22/22 Entered 11/22/22 12:51:20                           Desc Main
                                                                  Document      Page 2 of 2

Debtor 1          Joseph W. Warner
                 _______________________________________________________                       Case number            22-30985
                                                                                                             (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

          I am the creditor.

          I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 _____________________________________________________________
   /s/Reilly Fiske
     Signature
                                                                                               Date    11/22/2022
                                                                                                       ___________________




 Print:             Reilly Fiske
                    _________________________________________________________                  Title   Senior Specialist
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            KeyBank N.A.
                    _________________________________________________________



 Address            4910 Tiedeman Road
                    _________________________________________________________
                    Number                 Street

                    Brooklyn                         OH      44144
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      866-325-9723
                    ________________________                                                           bk_specialists@keybank.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                             page 2
